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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                     CASE NUMBER:

                                                                                21-CR-491-SB
                                              PLAINTIFF(S)
                   v.
JEFFREY FORTENBERRY                                                    NOTICE OF MANUAL FILING
                                                                             OR LODGING
                                            DEFENDANT(S).

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February 3, 2022                                               Susan S. Har
Date                                                           Attorney Name
                                                               USA
                                                               Party Represented


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